                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                    :
                                            :   Case No. 21-cr-495 (ABJ)
           v.                               :
                                            :
DANIEL PAUL GRAY,                           :
                                            :
                Defendant.                  :
                                            :

                                                ORDER

       Upon consideration of the Government’s Consent Motion to Continue the status conference

scheduled for May 18, 2022, it is this ___ day of _____________, 2022 hereby

       ORDERED, that the Motion to Continue the status conference is GRANTED and the

status conference will be continued until ____________, 2022 at _________; and it is

       FURTHER ORDERED that pursuant to the Motion to Continue, the time from May 18,

2022, to ______________, 2022, will be excluded from the Speedy Trial Act pursuant to 18 U.S.C.

§ 3161(h)(7) as the exclusion would serve the ends of justice and outweigh the interest of the

public and of Mr. Gray in a speedy trial.

       SO ORDERED



_________________________             _________________________________
DATE                                  HONORABLE AMY BERMAN JACKSON
                                      UNITED STATES DISTRICT JUDGE




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